833 F.2d 1005Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Kenneth HOPKINS, Petitioner-Appellant,v.Howard Nathaniel LYLES, Respondent-Appellee.
    No. 87-6542.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 29, 1987.Decided:  Nov. 18, 1987.
    
      Charles Kenneth Hopkins, appellant pro se.
      J. Joseph Curran, Jr., Attorney General, Valerie Johnston Smith, Office of Attorney General, for appellees.
      Before DONALD RUSSELL, CHAPMAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Hopkins v. Lyles, C/A No. 86-1046-S (D.Md., Jan. 16, 1987).
    
    
      2
      DISMISSED.
    
    